

People v Cannon (2022 NY Slip Op 05671)





People v Cannon


2022 NY Slip Op 05671


Decided on October 11, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 11, 2022

Before: Gische, J.P., Kern, Gesmer, Rodriguez, Pitt, JJ. 


Ind Nos. 2069/15, 400/17, 1000/17, 2089/17 Appeal No. 16381-16381A Case No. 2018-04098 

[*1]The People of the State of New York, Respondent,
vJoseph Cannon, Defendant-Appellant. 


Caprice R. Jenerson, Office of The Appellate Defender, New York (Victorien Wu of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Lori Ann Farrington of counsel), for respondent.



Judgments, Supreme Court, Bronx County (Ralph Fabrizio, J.), rendered February 1, 2018, convicting defendant, upon his pleas of guilty, of four counts of assault in the second degree, and sentencing him to an aggregate term of eight years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US —&amp;mdash, 140 S Ct 2634 [2020]; People v Bryant, 28
NY3d 1094 [2016]), which forecloses review of his excessive sentence claim. In any event, we perceive no basis for reducing the sentence.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 11, 2022








